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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

NATALE COSENZA,                              )
               Plaintiff                     )
                                             )
v.                                           )      C.A. No. 18-CV-10936-TSH
                                             )
KERRY HAZELHURST and                         )
JOHN DOHERTY,                                )
              Defendants                     )


                     DEFENDANTS’ MOTION FOR LEAVE TO FILE
                    MEMORANDUM IN EXCESS OF TWENTY PAGES

       Defendants, Kerry Hazelhurst and John Doherty, hereby move this Court, pursuant to

Local Rule 7.1(b)(4), for leave to file a memorandum in support of the Defendants’ Renewed

Motion for Judgment as a Matter of Law After Trial and Alternative Motion for a New Trial in

excess of twenty pages.

       There are many issues to be addressed in the Defendants’ memorandum in this matter

seeking to set aside the jury verdict returned against Det. Hazelhurst as to suppression and

fabrication, and conspiracy against both Defendants Hazelhurst and Doherty.         Although

Defendants will be conservative as much as possible in the submission, in order to thoroughly

address all pertinent issues with regard to all of the counts, Defendants’ memorandum is

expected to total more than twenty pages, and total approximately thirty pages.
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       WHEREFORE, Defendants hereby move this Court for leave to file a memorandum in

excess of twenty pages.

                                                   KERRY HAZELHURST
                                                   JOHN DOHERTY

                                                   By their attorneys,
                                                   Michael E. Traynor
                                                   City Solicitor

                                                   /s/ Wendy L. Quinn
                                                   Wendy L. Quinn, Esq. (BBO#653954)
                                                   Courtney E. Mayo, Esq. (BBO#657790)
                                                   Special Assistant City Solicitors
                                                   Hassett & Donnelly, P.C.
                                                   446 Main Street, 12th Floor
                                                   Worcester, MA 01608
                                                   (508) 791-6287
                                                   wquinn@hassettdonnelly.com


              CERTIFICATE OF LOCAL RULE 7.1 CONFERENCE

       I, the undersigned, hereby certify that I attempted to confer with Plaintiff’s counsel in
good faith to resolve or narrow the issues presented by this Motion, but I did not receive a
response to my correspondence.

                                                   /s/ Wendy L. Quinn
                                                   Wendy L. Quinn
                                                   Assistant City Solicitor

                                CERTIFICATE OF SERVICE

        I, Wendy L. Quinn, hereby certify that on this 11th day of October, 2022, I served the
within Defendants’ Motion for Leave to File Memorandum in Excess of Twenty Pages upon
Plaintiff by providing a copy of the same to Plaintiff’s counsel of record via the United States
District Court’s electronic notification system.

                                                   /s/ Wendy L. Quinn
                                                   Wendy L. Quinn
                                                   Assistant City Solicitor




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